                                   1                                    UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4                                      ,           Case No. 22-cv-04189
                                              League of Women Voters of Cupertino-Sunnyvale
                                                        Plaintiff(s),
                                   5
                                                                                        APPLICATION FOR ADMISSION OF
                                                   v.                                   ATTORNEY PRO HAC VICE
                                   6
                                                                                        (CIVIL LOCAL RULE 11-3)
                                   7          City of Cupertino, Darcy Paul, Diane
                                                                              ,    Thompson, Kirsten Squarcia, Chris Jensen, Liange Chao, Kitt
                                                        Defendant(s).
                                   8

                                   9

                                  10           I, Michael Dockterman          , an active member in good standing of the bar of

                                  11    Illinois                              , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: League of Women Voters of Cupertino-Sunnyvale
                                                                                                                               in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Jamie Lucia                       , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-counsel’s bar number is: _________________.
                                                                                                         246163

                                  16
                                       227 West Monroe Street, Suite 4700                   One Market Plaza, Spear Tower, Suite 3900
                                  17    MY ADDRESS OF RECORD                                 LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   (312) 577-1243                                       (415) 365-6711
                                        MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       mdockterman@steptoe.com                              jlucia@steptoe.com
                                  20    MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

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                                  22           I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 3121675            .
                                  24           A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                     0
                                               I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: July 28, 2022                                          Michael Dockterman
                                                                                                     APPLICANT
                                   5

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                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

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                                  11            IT IS HEREBY ORDERED THAT the application of Michael Dockterman                      is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:

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                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
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                                       Updated 11/2021                                   2
